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                                                  22-2110
                              United States Court of Appeals
                                                      for the
                                             Fourth Circuit

                                COURTHOUSE NEWS SERVICE,
                                                                 Plaintiff/Appellant,
                                                       – v. –

               JACQUELINE C. SMITH, in her official capacity as Clerk
                of the Circuit Court for Prince William County, Virginia,
                                                                 Defendant/Appellee,
                                                        and

                              COMMONWEALTH OF VIRGINIA,
                                                                 Intervenor/Defendant – Appellee.
                                            ------------------------------

                 THE REPORTERS COMMITTEE FOR FREEDOM OF
                  THE PRESS AND 38 MEDIA ORGANIZATIONS,
                                                                 Amicus Supporting Appellant.

               ON APPEAL FROM THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF VIRGINIA AT RICHMOND

                         REPLY BRIEF OF APPELLANT
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                                         INTRODUCTION

              Appellees’ briefs are remarkable for the facts and law they do not address.

              First, they never confront settled law establishing it is the category of court

        records that triggers First Amendment rights, not the means by which access is

        available or the nature of the access restriction. “Courts often must apply the legal

        rules arising from fixed constitutional rights to new technologies in an evolving

        world.” U.S. v. Miller, 982 F.3d 412, 417 (6th Cir. 2020).

              Second, Appellees shut their eyes to their own contentions proving the Non-

        Attorney Access Restriction 1 is not content-neutral, which requires it to survive strict

        scrutiny or at least the “rigorous” scrutiny used in the seminal case of CNS v. Planet,

        947 F.3d 581 (9th Cir. 2020) (“Planet III”) (applying Press-Enterprise Co. v.

        Superior Court, 478 U.S. 1 (1986)) (“Press-Enterprise II”).

              Third, Appellees do not mention In re Murphy-Brown, LLC, 907 F.3d 788

        (4th Cir. 2018), and other cases confirming the Dissemination Restriction is a prior

        restraint, and content-based, requiring strict scrutiny for either reason.

              Fourth, Appellees do not attempt to show how the evidentiary record here –

        more accurately, the lack thereof – satisfies their burden under strict or Press-


        1
          Abbreviations follow CNS’ Opening Brief, while CNS’ Opening Brief is “AOB,”
        the Commonwealth’s Response Brief is “CRB” and Smith’s Response Brief is
        “SRB.” Unless otherwise noted, citations to internal quotations are omitted, bold
        and italic emphases are added, italic-only emphases are in the original, and statutory
        references are to the Virginia Code.
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        Enterprise II scrutiny. Even if intermediate TPM scrutiny applied, Appellees ignore

        controlling TPM precedent, including Reynolds v. Middleton, 779 F.3d 222 (4th Cir.

        2015), and Billups v. City of Charleston, 961 F.3d 673 (4th Cir. 2020), which require

        evidence of real shortcomings with secure remote access to civil court records and

        that Appellees tried or seriously considered less restrictive alternatives. Although

        Appellees do their best to obscure it, this evidence does not exist. Nor have

        Appellees, on this record, satisfied TPM’s other requirements.

              Perhaps because neither law nor evidence support them, Appellees distort the

        true nature of the access choice before this Court and the relief requested. At bottom,

        Appellees appear to hope that if they offer facially plausible arguments, this Court

        will defer to their choice to create a highly unusual and unconstitutional two-tier

        system of access that would have the additional effect of maintaining a monopoly

        over access to public court records. This Court should reject that invitation.

              Affirming the district court would run contrary to settled Circuit and Supreme

        Court precedent. Moreover, Appellees’ theory that it is inherently dangerous to

        allow secure remote access to anyone but government employees and attorneys is

        incompatible with, and abhorrent to, the First Amendment right of access. It is also

        contrary to many other courts, including all federal courts, which provide secure

        remote access on an equal basis.




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              In our country, the courthouse door is open to all who wish to learn what is

        happening inside. That court proceedings and records are increasingly observed

        remotely rather than in person – as is true of many aspects of modern life – cannot

        change that principle. In CNS v. Schaefer, 2 F.4th 318, 326 n.5 (4th Cir. 2021), this

        Court “agree[d] with plaintiff[] that the press is entitled to a right of access at least

        coextensive with the right enjoyed by [other segments of] the public.” Index

        Newspapers LLC v. U.S. Marshals Serv., 977 F.3d 817, 830 (9th Cir. 2020)). It

        should again because “the press is certainly not disfavored.” Id.

                                                   I.

           APPELLEES CANNOT AVOID REVERSAL BY OBSCURING THE
          NATURE OF CNS’ CLAIMS, THE RELIEF IT SEEKS, OR THE TRUE
            NATURE OF WHAT APPELLEES CALL A “PRIVACY” ISSUE

              Appellees’ briefs sow several areas of potential confusion. To ensure they do

        not distract from the facts and law requiring reversal, CNS addresses them first.

              The First Amendment right – This case is not about whether the First

        Amendment guarantees a per se right of remote access, despite Appellees’ attempts

        to characterize it as such. Rather, CNS contends Virginia’s preference system,

        which provides remote access to lawyers and government employees while

        withholding it from the press and public, violates the First Amendment. It is this

        atypical and discriminatory choice that cannot withstand constitutional scrutiny.




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              This case is not about data brokers – CNS does not access court records to

        harvest and sell personal data. “The purpose of CNS’s efforts to timely access …

        civil complaints is to report on whatever newsworthy content they contain.” CNS v.

        Planet, 750 F.3d 776, 787-88 (9th Cir. 2014) (“Planet I”); AOB 18 n.11.

              The access sought is secure remote access – CNS is not “contend[ing] that

        if court records are made remotely accessible to anyone, then the First Amendment

        requires that they also be made remotely accessible to the general public,” CRB 21,

        at least not in the way suggested. Appellees imply CNS asks this Court to choose

        between two extremes: the existing discriminatory system, or unrestricted access

        online to all. In reality, what CNS seeks – access to the same account and paywall-

        protected system that lawyers and the government use – is the same middle ground

        the federal courts use for PACER. 2

              This distinction matters. To remotely access Virginia’s 105 OCRA courts,

        someone would need to “separately subscribe” to each court, each with its own user

        agreement, 3 and pay a “separate subscription fee for each” court. CRB 6; AOB 10-

        11. This would hardly provide “unfettered public access.” CRB 27.




        2
         It is also the middle ground chosen by the Alexandria Circuit Court in Virginia.
        AOB 7 (citing JA80); see also JA150, JA159-162.
        3
         Prince William County’s user agreement must be notarized and requires detailed
        data about the subscriber. AOB 10-11. Every OCRA clerk could do the same.

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               The remedy does not require legislation or redaction – This distinction

        also explains why there is no merit to Appellees’ arguments that the relief sought

        requires legislation or clerks to redact filings. Virginia requires filers to redact social

        security and financial account numbers, § 8.01-420.8, and the record contains no

        evidence they fail to do so. Filers need not redact other identifiers because “secure

        remote access to nonconfidential court records,” § 17.1-293(E)(7), is an exception

        to § 17.1-293(B), which bars posting records with those identifiers “on the Internet.”

               Applying Virginia’s “presumption of severability,” Sons of Confederate

        Veterans, Inc. v. Comm’r of Va. DMV, 288 F.3d 610, 627 (4th Cir. 2002); see

        § 1-243, the attorney preference in § 17.1-293(E)(7) can be held unconstitutional

        while leaving the “secure remote access” requirement intact:

               (B) Beginning January 1, 2004, no court clerk shall post on the Internet
               any document that contains the following information: (a) an actual
               signature, (ii) a social security number, (iii) a date of birth identified on
               with a particular person, (iv) the maiden name of a person’s parent so
               as to be identified with a particular person, (v) any financial account
               number or numbers, or (vi) the name and age of any minor child.

               ****

               (E) This section shall not apply to the following:

               ****
                      (7) Providing secure remote access to nonconfidential court
                      records, subject to any fees charged by the clerk, to members in
                      good standing with the Virginia State Bar and their authorized
                      agents, pro hac vice attorneys authorized by the court for
                      purposes of the practice of law, and such governmental agencies
                      as authorized by the clerk.


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        The distinction between “secure remote access” and unrestricted online access is

        consistent with § 17-1.225, which permits clerks to provide “remote online access,

        including Internet access, to all nonconfidential court records,” without restricting it

        to lawyers, provided the clerk implements “proper security measures.”

               Repeated references to “privacy” are misnomers – Appellees’ insistence

        that “the protection of Private Information” is at stake, SRB 22, must also be

        corrected. Court records on OCRA are not private. Records on OCRA are the

        same as those available for public review at courts for those with the time and

        resources to make the trip. While Appellees’ briefs do their best to obscure it, the

        record reveals neither fraud nor identity theft are the main reason for their

        discriminatory access regime. Rather, the main reason for the restrictions is that data

        brokers and others may use information parties are not required to redact for

        constitutionally protected speech Virginia does not approve of.

               The OCRA restrictions damage news reporting – Appellees argue

        OCRA’s restrictions do not hurt reporting because OCRA records can be seen at

        courthouses. This ignores reality, JA142-143, JA150 & JA382; CNS RJN Reqs. 2-

        3, and the amici brief of the Reporters Committee for Freedom of the Press (“RCFP”)

        and 38 media entities, including The Washington Post, New York Times, Virginia-

        Pilot and Daily Press. As amici explained, the “demise of … news outlets has

        contributed to the existence of 1,800 so-called ‘news deserts’ across the country.”


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        RCFP Br. 13-14.       This means fewer outlets covering the courts, and “the

        impracticalities of traveling to the more than 100 courthouses around the

        Commonwealth to view – and report on – court records mean that these publications

        must inevitably limit their coverage to a small number of courts.” Id. at 14.

                                                  II.

         APPELLEES’ DEFENSE OF LESSER SCRUTINY FAILS BECAUSE IT
        RESTS ON REFUSING TO ACKNOWLEDGE CNS’ FIRST AMENDMENT
          RIGHTS TO ACCESS AND REPORT ON CIVIL COURT RECORDS

              The district court’s dismissal of CNS’ claims rested on its refusal to apply the

        appropriate scrutiny. Appellees’ primary defense of that decision is to deny the First

        Amendment even applies on the theory that “[t]he challenged provisions do not

        impede the public’s access to court records and therefore do not implicate CNS’s

        First Amendment rights.” CRB 23; SRB 13.

              But the provisions do impede CNS since it does not have contemporaneous

        access “‘“co-extensive with”’” other “‘members of the public.”’” CRB 24 (quoting

        Schaefer, 2 F.4th at 326 n.5). Attorneys or government employees in Norfolk can

        access a complaint filed after noon in Roanoke remotely within minutes, but CNS’

        reporter in Norfolk cannot see or inform the public about it until one to three or four

        days later after driving 4-5 hours and 250 miles. AOB 33-34.

              Appellees’ impeding of “‘the public’s interest in monitoring the functioning

        of the courts’” – “especially through the press’s reporting” – does not end there.



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        Schaefer, 2 F.4th at 327 (quoting Doe v. Public Citizen, 749 F.3d 246, 253 (4th Cir.

        2014)). CNS’ reporter cannot obtain details about the complaint in Roanoke from

        those who can access it remotely because § 17.1-293(H) bans attorneys and public

        employees from distributing it. This “content based” restraint “target[s] speech

        relating to pending litigation,” Murphy-Brown, 907 F.3d at 797, “directly impair[s]”

        the reporter’s “right under the First Amendment to gather news,” In re Wall St.

        Journal, 601 F. App’x 215, 218 (4th Cir. 2015) (per curiam), and precludes her from

        informing the public on a “reasonably contemporaneous basis” about “the parties

        involved …, the facts alleged, the issues for trial, and the relief sought,” making it

        “impossible for the public to perform [its] role” of “‘participat[ing] in and serv[ing]

        as a check upon the judicial process.’” Schaefer, 2 F.4th at 327-28.

              Appellees dismiss these impediments by asserting CNS has no right to

        “convenient” remote access. CRB 1. But it has long been clear Appellees may “not

        close [their] courtroom to the entire press when any members of the public are to be

        admitted.” Lexington Herald Leader Co. v. Tackett, 601 S.W.2d 905, 907 (Ky.

        1980); Schaefer, 2 F.4th at 326 n.5.          Appellees cannot use “technology” to

        circumvent this rule by “granting … preferential access” to a virtual courthouse

        records bin while asserting CNS is “merely claiming a right to greater convenience.”

        Legi-Tech, Inc. v. Keiper, 766 F.2d 728, 731-34 (2d Cir. 1985); AOB 28-29.




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        A.    Appellees Cannot Avoid Strict Scrutiny Of CNS’ Equal Protection
              Claim By Using Technology To Deny Equal Contemporaneous Access

              As shown, OCRA’s restrictions severely and self-evidently burden CNS’

        fundamental First Amendment rights, which requires applying strict scrutiny to its

        Equal Protection claim. Thomasson v. Perry, 80 F.3d 915, 927-28 (4th Cir. 1996)

        (strict scrutiny applies “where the statute classifies along inherently suspect lines or

        burdens the exercise of a fundamental constitutional right”). To defend the

        dismissal below under a rational basis standard, Appellees attempt a bit of legal

        legerdemain, in which CNS’ acknowledgement that the First Amendment does not

        require a “per se” right of remote access means its claim “does not implicate a

        fundamental First Amendment right” at all. CRB 64; SRB 13-14. 4

              The threshold problem with this theory is that the district court recognized

        CNS asserts that Appellees “are limiting an already established fundamental right,

        the right to access civil court records, in an unconstitutional manner.” JA70. 5 As

        this Court has held, “the press and public enjoy a First Amendment right of access

        to newly filed civil complaints,” Schaefer, 2 F.4th at 328, and other “judicial




        4
          A claim for a per se right of remote access exists where a court provides no such
        access and plaintiff contends “such [access] was constitutionally required.” Legi-
        Tech, 766 F.2d at 734. This Court “face[s] a different issue, however, for [OCRA]
        denies [CNS] the very access to information offered to [others].” Id.
        5
          This is hardly an “incomplete citation,” SRB 14, to show the district court
        recognized the right of access to complaints is “fundamental.” AOB 32.

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        documents and records filed in civil … proceedings.” Doe, 749 F.3d at 265.

        Because “the right to access is grounded in the First Amendment, the burden, which

        falls on the one seeking confidentiality, is as rigorous as the burden for overcoming

        any other fundamental right.” Boone v. City of Suffolk, 79 F. Supp. 2d 603, 606

        (E.D. Va. 1999); accord, e.g., Planet I, 750 F.3d at 787.

              The First Amendment right of access does not magically disappear because

        the “unconstitutional manner” used to deny CNS “reasonably contemporaneous

        access,” Schaefer, 2 F.4th at 328, is to allow only a subset of the public – thousands

        of government employees and attorneys – to register for remote access.

              “‘[C]ontemporaneous in this context’” means “‘as expeditiously as possible,’”

        id. (quoting Doe, 749 F.3d at 272), which only those allowed to register for remote

        access receive, and the fact OCRA access is provided electronically does not excuse

        violation of the right. “Applying the Constitution’s protections to new technological

        contexts is far from a novel exercise.” Nat’l Press Photogs. Ass’n v. McCraw, 594

        F. Supp. 3d 789, 804 (W.D. Tex. 2022); Legi-Tech, 766 F.2d at 732; 360 Virtual

        Drone Servs. v. Ritter, 2023 WL 2759032, *9 (E.D.N.C. March 31, 2023) (“The

        court sees no reason for distinguishing under the First Amendment between images

        captured by earlier technology and those captured remotely by drone.”).

              The Commonwealth argues none of this matters because TPM scrutiny

        applies to CNS’ First Amendment access claim, barring application of strict scrutiny


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        to CNS’ Equal Protection claim. CRB 64. But as shown in the AOB and explained

        further below, TPM scrutiny does not apply because the access restriction is not

        content-neutral and the compelling or overriding interest test in Press-Enterprise II

        applies even to content-neutral denials of contemporaneous access.

        B.    Appellees’ Argument For Applying TPM Scrutiny To Their Access
              Restriction Overlooks Their Admissions And Circuit Precedent

              Appellees’ primary defense of the dismissal of CNS’ First Amendment access

        claim boils down to a contention that “the First Amendment does not require the

        government to provide unfettered public access to documents merely because it

        provides [such] access to anyone.” CRB 27; see SRB 11-13. But secure remote

        access is hardly unfettered, and the First Amendment does require the press be

        granted access “‘“co-extensive”’” with a significant subset of the public. CRB 24

        (quoting Schaefer, 2 F.4th at 326 n.5); see Index Newspapers, 977 F.3d at 830.6

              Appellees’ fallback position – that denying co-extensive access need only

        survive TPM scrutiny – ignores Appellees’ admissions about the content-based

        reasons for the distinction and precedent requiring Press-Enterprise II scrutiny.




        6
          The Supreme Court decisions the Commonwealth cites condemn exactly what it is
        doing here: making information available in public records, then restricting its use
        to protect purported privacy interests. Florida Star v. B.J.F., 491 U.S. 524 (1989);
        Cox Broad. Corp. v. Cohn, 420 U.S. 469 (1975).

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              1.     The Record Confirms The Non-Attorney
                     Access Restriction Is Not Content Neutral

              Smith contends that because the Non-Attorney Access Restriction is content-

        neutral on its face and extends to all court records, it is content neutral. SRB 20-21.

        But as at least the Commonwealth recognizes, that does not end the inquiry.

              Even if the restriction is facially neutral, strict scrutiny applies if its “purpose

        and justification … are content based.” Reed v. Town of Gilbert, 576 U.S. 155, 166

        (2015). “‘[L]aws favoring some speakers over others demand strict scrutiny when

        the legislature’s speaker preference reflects a content preference.’” Id. at 170

        (quoting Turner Broad. Sys. v. FCC, 512 U.S. 622, 658 (1994)). As this Court

        recognized, “‘restrictions distinguishing among different speakers, allowing speech

        by some but not others, are as repugnant to the First Amendment as are restrictions

        distinguishing among viewpoints.’” PETA, Inc. v. N.C. Farm Bureau, 60 F.4th 815,

        831 (4th Cir. 2023) (quoting Citizens United v. FEC, 558 U.S. 310, 340 (2010)).

              The Commonwealth contends “protecting sensitive personal information to

        prevent fraud has nothing to do with suppressing a disfavored message,” CRB 40,

        and claims CNS did not cite anything in the record “tending to show” the OCRA

        restrictions were intended “‘to target [particular] speakers and their messages for

        disfavored treatment,’ or that it ‘imposes burdens based on the content of speech.’”

        Id. at 41 (quoting Sorrell v. IMS Health, Inc., 564 U.S. 552, 565 (2011)).




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              Not so. CNS cited the Commonwealth’s MSJ opposition, which argued

        OCRA’s restrictions were necessary to prevent public court records from being

        “misused” for “‘direct marketing offers’ it disfavors.” AOB 40 (quoting JA331-

        332). That record shows fraud or identity theft are not the primary reason for the

        restrictions. Rather, the “misuse” Appellees seek to prevent is primarily justified by

        an aversion to the content of speech about court records by “disfavored speakers,”

        Sorrell, 564 U.S. at 564,7 including commercial and political actors, and media it

        disfavors or misunderstands like CNS. JA331-333; see JA463-469. 8

              The First Amendment, however, protects that speech even if the government

        wants to discourage it. AOB 40. Not only is “the creation and dissemination of

        information … speech within the meaning of the First Amendment,” Sorrell, 564

        U.S. at 570, but as Sorrell recognized, and the Commonwealth acknowledged below,

        its value is “in the eye of the beholder.” JA461. Clarifying what it meant by



        7
          “Lawmakers may no more silence unwanted speech by burdening its utterance than
        by censoring its content.” Sorrell, 564 U.S. at 566. But that is exactly what
        Appellees are doing. OCRA’s restrictions burden public and press speech about
        court records, while judicial insiders – lawyers and government employees – can
        register for remote access because their speech about court records is the “right”
        kind. Nor does McCullen “support[] the conclusion that the regulation at issue is
        content-neutral,” as the district court believed. JA547-548. Unlike the exemption
        there allowing abortion clinic employees to be in buffer zones, the reason for this
        exemption is not where attorneys speak, but the preferred content of their speech.
        8
          At the least, the record creates a jury issue on content neutrality that precluded
        summary judgment unless Appellees satisfy strict scrutiny, which they did not try to
        meet. See Lowery v. Jefferson Cnty. Bd. Of Educ., 586 F.3d 427, 435 (6th Cir. 2009).

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        “exploited or misused,” id., the Commonwealth explained:

              I guess it depends on how … you view marketing efforts, like marketing
              payday loans to people that have filed for bankruptcy. Is that a laudable
              purpose or not? Is that marketing a service to people who might need
              it, or is it preying on the financially vulnerable? …

              ***
                    The fact is that it exists. And Virginia has taken the position that
              we want to make it harder for people to engage in that mass data
              harvesting of data which then allows you to repackage and resell it. …

        JA463; JA462 (categorizing “data brokers” as including entities “laudable, like

        LexisNexis,” or “neutral like Google”), JA461 (describing CNS as “data broker”).

              Appellees’ “reluctance to embrace [their] own … rationale” for the

        restrictions by pretending this record does not exist “reflects the vulnerability of

        [their] position.” Sorrell, 564 U.S. at 577. “Those who seek to censor or burden

        free expression often assert that disfavored speech has adverse effects. But the ‘fear

        that people would make bad decisions if given truthful information’ cannot justify

        content-based burdens on speech.” Id.

              The Commonwealth below argued the restrictions also seek to prevent

        “harvesting” and “data mining” of online court records for the purpose of spreading

        “election disinformation intended to sow chaos or dissuade voter participation.”

        JA332-333. This justification is at least “closely tied to political speech, which

        generally receives the strongest First Amendment protection.” Fusaro v. Cogan,

        930 F.3d 241, 250 (4th Cir. 2019). Moreover, designating preferred speakers in this



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        context may constitute its own “constitutional wrong.” AOB 38; see Fusaro, 930

        F.3d at 253 (Citizens United “reject[ed the] argument that, ‘in the context of political

        speech, the Government may impose restrictions on certain disfavored speakers’”).

              2.     Appellees Overlook That This Court Has Held Even “A Minimal
                     Delay” In Access Must Survive Press-Enterprise II Scrutiny

              Even a content-neutral restriction on access must still pass Press-Enterprise

        II’s “rigorous” test. Planet III, 947 F.3d at 595-96 & n.9. The Commonwealth

        suggests Planet III said TPM applies to delayed access, CRB 33, but Smith

        recognizes that is not true: “Instead of applying TPM scrutiny … Planet III held that

        a court administrator must ‘demonstrate … a “substantial probability” that its

        interest … would be impaired by immediate access, and second, that no reasonable

        alternatives exist to ‘adequately protect’ that government interest.’”         SRB 28

        (quoting Planet III, 947 F.3d at 596) (applying Press-Enterprise II, 478 U.S. at 14).

              Smith argues Planet III erred in applying Press-Enterprise II scrutiny because

        the latter “involved complete closure” – denial of access to a hearing and a transcript

        of that hearing 9 – not the timing or manner of access. SRB 29-30. But the delay in

        access resulting from Appellees’ two-tiered access regime does work a complete

        denial of contemporaneous access, which is why this Court held “a ‘minimal delay’

        in access” must survive Press-Enterprise II scrutiny. In re Charlotte Observer, 882


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         In fact, the lower court did belatedly “release[] the transcript,” which the Supreme
        Court held did not moot the case. Press-Enterprise II, 478 U.S. at 5-6.

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        F.2d 850, 856 (4th Cir. 1989) (rejecting view similar to Smith’s because it “unduly

        minimizes, if it does not entirely overlook, the value of ‘openness’ itself, a value

        which is threatened whenever immediate access to ongoing proceedings is denied,

        whatever provision is made for later public disclosure”); In re Associated Press, 172

        F. App’x 1, 4-5 (4th Cir. 2006) (applying Press-Enterprise II to hold delaying access

        to exhibits until after trial violates “contemporaneous access”).10

              That is consistent with how the Supreme Court said TPM rules apply in this

        context. The footnote Appellees cited in Globe Newspaper Co. v. Superior Ct., 457

        U.S. 596, 607 n.17 (1982), did not discuss how TPM rules apply here, but cited

        Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555 (1980), which did: “‘The

        question in a particular case is whether that control is exerted so as not to deny or

        unwarrantedly abridge … the opportunities for the communication of thought and

        the discussion of public questions.’” Id. at 581 n.18. Requiring attendees to be

        “quiet and orderly” is a valid TPM rule that neither denies nor abridges that right,

        but restrictions that prevent “media representatives” from serving as “surrogates for

        the public” are not. Id. at 573, 581 n.18; accord id. at 600 n.3 (“In such situations,

        representatives of the press must be assured access.”) (Stewart, J., concurring).


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          See In re Wash. Post Co., 807 F.2d 383 (4th Cir. 1986) (Press-Enterprise II
        violated where access to hearings denied but transcripts released); In re Providence
        Journal Co., 293 F.3d 1, 14 (1st Cir. 2002) (upholding delay that met Press-
        Enterprise II test, distinguishing case vacating 48-hour delay that did not) (citing
        Associated Press v. U.S. Dist. Ct., 705 F.2d 1143, 1147 (9th Cir. 1983)).

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              It follows that “only the most compelling circumstance should prevent

        contemporaneous public access” to judicial records. In re NBC, Inc., 635 F.2d 945,

        952 (2d Cir. 1980). That means a “compelling interest” must support denying access

        the day an exhibit is “‘introduc[ed] into evidence,’” U.S. v. Sampson, 297 F. Supp.

        2d 342, 346 (D. Mass. 2003) (quoting NBC, 635 F.2d at 952), or a complaint is filed.

        Planet III, 947 F.3d at 594.

              The Commonwealth claims the Court should ignore this principle because

        Schaefer applied TPM review and “Schaefer controls.” CRB 31. But “this Court

        has directly – and recently – disclaimed the notion ‘that everything said in a panel

        opinion binds future panels.’” U.S. v. Buster, 26 F.4th 627, 633 (4th Cir. 2022)

        (quoting Payne v. Taslimi, 998 F.3d 648, 654 (4th Cir. 2021)). As CNS explained,

        Schaefer is such a case; because the district court there misread Planet III and

        applied both Press-Enterprise II and TPM scrutiny, the short passage applying TPM

        was “not necessary to the outcome” as appellants lost either way. Payne, 998 F.3d

        at 655; AOB 42-43. Consequently, the distinction between the two types of review

        “‘may not have received the full and careful consideration of the court,’” and this

        Court is “not bound” to follow it. 11 Payne, 998 F.3d 654-55 (quoting U.S. v.




        11
          If Schaefer had decided TPM applies to denials of contemporaneous access, it
        would conflict with Charlotte Observer, which – as “the earliest opinion” –
        “controls.” McMellon v. U.S., 387 F.3d 329, 333 (4th Cir. 2004) (en banc).

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        Crawley, 837 F.2d 291, 292 (7th Cir. 1988) (Posner, J.)). 12

        C.    Appellees Ignore Cases Establishing The Dissemination Restriction
              Is A Content-Based Prior Restraint Subject To Strict Scrutiny

              Appellees barely attempt to defend the district court’s refusal to apply the

        “most rigorous form of review” to the Dissemination Restriction, which this Court

        has held must apply to “all” restrictions that “‘forbid speech activities.’” Murphy-

        Brown, 907 F.3d at 796-97 (quoting Alexander v. U.S., 509 U.S. 544, 550 (1993)).

              Smith does not even address this issue, while the Commonwealth ignores

        Murphy-Brown and does not directly defend the district court’s rationale. No doubt

        that is because this Court has rejected the district court’s conclusion that the

        Dissemination Restriction was not a prior restraint because it banned dissemination

        of “information obtained from electronic civil court records” but not information

        available “physically from the courthouse.” JA559; see Soderberg v. Carrion, 999

        F.3d 962, 966-70 (4th Cir. 2021) (reversing ruling that broadcast ban was not prior

        restraint, but rather a TPM regulation subject to intermediate scrutiny, because “it

        does not limit other means of disseminating the same information”).




        12
           Crawley involved a similar scenario: “Since the evidence that a condition of
        probation had been violated was strong enough to satisfy the preponderance-of-the-
        evidence standard, the court had no occasion to consider whether, if it had been only
        strong enough to satisfy the reasonably-satisfied standard, the defendant's probation
        should not have been revoked.” 837 F.2d at 293.

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              Instead, the Commonwealth contends § 17.1-293(H) “is not a prior restraint

        because it does not enjoin CNS from publishing any lawfully obtained information”

        on the apparent theory that a prior restraint only exists where the restriction expressly

        and absolutely bars the press – a “‘newspaper or periodical’” – from publishing.

        CRB 34-35 (quoting Near v. Minnesota ex rel. Olson, 283 U.S. 697 (1931)).

              But the Commonwealth overlooks settled precedent CNS cited rejecting this

        argument. In Wall Street Journal, the district court relied on the same argument as

        the Commonwealth to deny a media challenge to a gag order on attorneys and trial

        participants on the ground it was not “‘a prior restraint’” subject to strict scrutiny

        because it “does not prohibit the press from publishing news articles about the case,”

        which that court, like the Commonwealth, thought “a crucial distinction.” U.S. v.

        Blankenship, 79 F. Supp. 3d 613, 617-19 (S.D. W. Va.), vacated sub nom. In re Wall

        St. Journal, 601 F. App’x 215 (4th Cir. 2015) (per curiam).

              Rejecting the narrow view of the district court there and the Commonwealth

        here, this Court vacated the gag order because it was “constrained to conclude that

        [it] … cannot be sustained” under cases such as Nebraska Press Ass’n v. Stuart, 427

        U.S. 539, 562 (1976). Wall St. Journal, 601 F. App’x at 218-19. That shows the

        Commonwealth’s error in contending Nebraska Press does not apply outside a

        “‘prior restraint … upon the communication of news and commentary on current




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        events’” by the press. CRB 37 (quoting 427 U.S. at 559).13

              That conclusion is also supported by numerous other cases. For example, in

        CBS Inc. v. Young, 522 F.2d 234 (6th Cir. 1975), the court invalidated a gag order

        in a civil case on a challenge by the media as a “prior direct restraint[] by government

        upon First Amendment freedoms of expression and speech” that failed to survive

        “the closest scrutiny.” Id. at 238. Similarly, Gentile v. State Bar of Nevada, 501

        U.S. 1030 (1991), also treated a state rule against attorneys making certain

        statements as a “restraint on speech.” Id. at 1076. 14

              As for the contention that preventing publication of “sensitive personal

        information” has “never been treated as ‘prior restraints’ subject to strict scrutiny,”

        CRB 37, precedent is to the contrary. “A prohibition against disclosing confidential

        information constitutes a prior restraint.” Evans v. Evans, 76 Cal. Rptr. 3d 859, 869


        13
          The Commonwealth also overlooks that if the Non-Attorney Access Restriction
        violates Equal Protection and/or the First Amendment, the Dissemination
        Restriction will directly “enjoin[] CNS from publishing any information” it would
        have a constitutional right to access remotely. CRB 35 (mistakenly claiming
        Dissemination Restriction “‘only’” restricts “members of the Virginia bar”).
        14
          Gentile held that rules restraining “the speech of lawyers representing clients in
        pending cases may be regulated under a less demanding standard” than Nebraska
        Press. 501 U.S. at 1074-76. Wall Street Journal cited Nebraska Press and cases
        applying a standard “consistent” with Gentile to uphold restraints on attorneys and
        witnesses in their cases. In re Morrissey, 168 F.3d 134 (4th Cir. 1999); In re Russell,
        726 F.2d 1007 (4th Cir. 1984). Wall Street Journal thus recognized one level of
        scrutiny applied to restraints on counsel and participants in their pending criminal
        cases and the stricter standard in Nebraska Press applied to broader restraints like
        the Dissemination Restriction. Accord Murphy-Brown, 907 F.3d at 797-98.

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        (Cal. App. 2008); In re Providence Journal Co., 820 F.2d 1342, 1350 (1st Cir. 1986)

        (“privacy rights … an insufficient basis for issuing a prior restraint”) (citing Org. for

        a Better Austin v. Keefe, 402 U.S. 415, 419-20 (1971) (“[d]esignating the conduct as

        an invasion of privacy … is not sufficient” to overcome “‘heavy presumption’

        against [the] constitutional validity” of “[a]ny prior restraint”)). 15

                 Apparently “aware of no case in any jurisdiction in which a prior restraint

        has been imposed to prevent an intrusion into privacy,” Hurvitz v. Hoefflin, 101 Cal.

        Rptr. 2d 558, 567 (Cal. App. 2000), the Commonwealth misquotes Soderberg in a

        way illustrating the error in the district court’s ruling that the Dissemination

        Restriction is not a prior restraint “because it does not prohibit CNS from reporting

        on the exact same court records available … at the courthouse.” CRB 37-38; JA559.

                 The Commonwealth says “when ‘there are privacy interests to be protected in

        judicial proceedings, the States must respond by means which avoid … exposure of

        private information.’” CRB 36 (quoting Soderberg, 999 F.3d at 968) (quoting Cox

        Broad., 420 U.S. at 496). But the ellipses hide a passage fatal to that argument and

        the ruling below: “‘the States must respond by means which avoid public

        documentation or other exposure of private information.’” The Commonwealth’s

        cases thus hold that what it does here – making the information available in records

        “‘open to public inspection’” at the courthouse – does expose that information to the


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             Modified on denial of rehearing, 820 F.2d 1354 (1st Cir. 1987) (en banc).

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        public, and any attempt to restrain its further dissemination must survive “strict

        scrutiny.” Soderberg, 999 F.3d at 966-69 & n.3 (quoting same).

              In failing to address Murphy-Brown, Appellees also do not dispute strict

        scrutiny must apply to the Dissemination Restriction for the separate reason that it

        is a “content-based restriction” that “targets speech relating to pending litigation.”

        907 F.3d at 797; accord, e.g., Ctr. for Investigative Reporting v. Se. Pa. Transp.

        Auth., 975 F.3d 300, 314 n.4 (3d Cir. 2020) (gag orders are content-based).

                                                 III.

              APPELLEES DO NOT EVEN TRY TO SHOW HOW STRICT
             OR PRESS-ENTERPRISE II SCRUTINY COULD BE SATISFIED,
             AND DO NOT COME CLOSE TO SATISFYING TPM SCRUTINY

              Appellees never argue OCRA’s restrictions could satisfy strict or Press-

        Enterprise II scrutiny. 16 Even if TPM scrutiny did apply, Appellees fail to show

        how they met their “evidentiary obligations” under “this Circuit’s precedent,” PETA,

        60 F.4th at 831-32, including Billups and Reynolds, which together articulate the

        rules for TPM scrutiny after McCullen v. Coakley, 573 U.S. 464 (2014). Appellees

        do not address these cases cited by CNS, AOB 51-52, and ignore key evidentiary

        steps those cases require. This Court should not grant Appellees the constitutional


        16
           “[A]n appellee who simply ignores arguments in the appellant’s brief has forfeited
        his response,” which “‘ordinarily result[s] in waiver’” and suggests Appellees
        “ha[ve] voluntarily chosen to concede” the OCRA restrictions cannot meet strict or
        rigorous scrutiny. W. Va. Coal Workers’ Pneumoconiosis Fund v. Bell, 781 F.
        App’x 214, 226-27 (4th Cir. 2019).

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        hall pass they seek. The law and absence of requisite evidence require reversal.

        A.    The Dissemination Restriction

              CNS starts with the Dissemination Restriction because controlling law and

        Appellees’ own contentions make application of both strict and TPM scrutiny

        straightforward, and either compels reversal.

              The Commonwealth makes available at the court the purportedly “personal

        information” it seeks to protect. Regardless of the Dissemination Restriction, “any

        entity could sell, post, or redistribute the information and write an algorithm to

        harvest such private information from the records’” at the courthouse. CRB 37

        (quoting JA562-563).        Consequently, “even assuming” the Dissemination

        Restriction “served a state interest of the highest order” – and as discussed infra, that

        cannot be assumed – “it does not accomplish its stated purpose,” and for that reason

        alone is unconstitutional. Smith v. Daily Mail Pub. Co., 443 U.S. 97, 105 (1979);

        Murphy-Brown, 907 F.3d at 796-97 (“gag order must actually ‘operate to prevent

        the threatened danger’”) (quoting Nebraska Press, 427 U.S. at 562).

              Even if it was not possible to gather such data from records at the courthouse

        – and Appellees presented no evidence showing it is not – the Dissemination

        Restriction is not “narrowly tailored” to protect against data harvesting or publishing

        private information, as required by strict scrutiny, Murphy-Brown, 907 F.3d at 799,

        and TPM scrutiny. Billups, 961 F.3d at 686; Reynolds, 779 F.3d at 230-32. A


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        “sweeping prior restraint mechanism” that bars dissemination of “all information”

        from court records accessed remotely, to protect against disclosure of any “private”

        information that might appear in a fraction of those records, is egregiously

        “overinclusive” to protect any truly “confidential” information, even under TPM-

        type scrutiny. Harman v. City of New York, 945 F. Supp. 750, 767 (S.D.N.Y. 1996)

        (enjoining restraint on discussing “any information” about agency policies absent

        approval as overly broad to protect confidentiality of minors and families identified

        in “reports of child abuse” or “in foster care”), aff’d, 140 F.3d 111 (2d Cir. 1998).

        B.    The Non-Attorney Access Restriction

              Controlling law, Appellees’ own contentions and the evidentiary record – or,

        more precisely, the lack thereof – mandate the same result for this restriction.

              1.     Appellees’ Stated Interests Are Not Sufficiently Compelling
                     Or Important To Override The First Amendment

              All courts may “‘share an interest in preventing harm caused by misuse of

        personal identifiers.’” CRB 42 (quoting AOB 53). But that does not mean CNS

        “does not dispute that the governmental interests at stake here are ‘significant’ and

        ‘important.’”   Id.   As the AOB explains, not all the interests asserted are

        constitutionally “compelling,” “overriding” or even “important.”

              Merely asserting a “privacy” interest does not make it such. AOB 29-30. It

        is one thing to say there is an interest in preventing access to identifiers filers are




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        required to redact. 17 But that is not true for information parties are not required to

        redact. Appellees’ reliance on U.S. DOJ v. Reporters Comm. for Freedom of the

        Press, 489 U.S. 749 (1989), to contend there is an interest in the “practical obscurity”

        of public information that may be personal in nature, CRB 46; SRB 23, is inapposite.

        That case involved a FOIA request for law enforcement criminal history summaries,

        which are “generally treated … as confidential,” 489 U.S. at 753, and to which the

        First Amendment access right does not apply. Appellees cite no case following

        Reporters Committee where the First Amendment does apply. 18

              Similarly, there is no cognizable interest in “regulations that seek to keep

        people in the dark for what the government perceives to be their own good,” 44

        Liquormart v. Rhode Island, 517 U.S. 484, 503 (1996), like preventing information




        17
          Appellees contend filing parties do not always redact these identifiers. CRB 14,
        61. This assertion does not satisfy other TPM requirements – there is, for example,
        no evidence showing it actually happens – but at least it invokes a privacy interest
        recognized as “important” in other First Amendment access cases.
        18
           Other “privacy” authorities the Commonwealth cites, CRB 41-43, also do not
        involve public court records to which a First Amendment right of access applies.
        Seattle Times Co. v. Reinhart, 467 U.S. 20, 33 (1984) (“pretrial depositions and
        interrogatories” which are “not public components of a civil trial”); Lanphere &
        Urbaniak v. Colorado, 21 F.3d 1508, 1512 (10th Cir. 1994) (criminal justice records
        to which “there is no general First Amendment right,” not court records); Florida
        Bar v. Went For It, Inc., 515 U.S. 618 (1995) (direct mail solicitations); Nat’l Fed.
        of the Blind v. FTC, 420 F.3d 331 (4th Cir. 2005) (telemarking); Dahlstrom v. Sun-
        Times Media, 777 F.3d 937 (7th Cir. 2015) and 18 U.S.C. § 2721 (confidential motor
        vehicle records) (miscited as title 42); 5 U.S.C. § 552a (confidential agency records);
        42 U.S.C. § 1320d-6 (health information).

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        in OCRA records from being used for communications to so-called “vulnerable”

        groups. JA331-333; AOB 39-40. The Supreme Court “rejected the notion that the

        Government has an interest in preventing the dissemination of truthful commercial

        information in order to prevent members of the public from making bad decisions

        with the information.” Thompson v. W. States Med. Ctr., 535 U.S. 357, 374 (2002).

              It is also doubtful whether an “interest” in giving attorneys remote access to

        court records outside their own cases – what Appellees call an interest in the

        “efficient administration of justice” – is “sufficiently compelling,” Doe, 749 F.3d at

        269, to justify a discriminatory two-tier system of access for strict scrutiny, or

        “important” for TPM purposes. AOB 38-39; News & Observer Publ’g Co. v.

        Raleigh-Durham Airport Auth., 612 F.3d 301, 304 (4th Cir. 2010) (Wilkinson, J.

        concurring) (“it is blackletter law that free speech is not to be wholly subordinated

        to administrative convenience”). Indeed, the restrictions undermine the efficient

        administration of justice by denying the press the contemporaneous access critical

        to proper “functioning of the judicial process.” Schaefer, 2 F.4th at 327.

              Finally, as a matter of law, there cannot be a constitutionally cognizable

        interest in restricting the constitutional right of access to preserve government

        monopoly profits on that access, AOB 57-58 (citing JA470-472, JA552, JA556) –

        or to protect a choice not to charge for printouts on OCRA, which the

        Commonwealth repeatedly cites as a reason to maintain its system. CRB 6-7, 14-


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        15, 49. “The evils inherent in allowing government to create a monopoly over the

        dissemination of public information in any form seem too obvious to require

        extended discussion.       Government … may not attempt to control or reduce

        competition from other speakers.” Legi-Tech, 766 F.2d at 733.

                 2.      Appellees Fail To Show They Satisfied Their Burden To Prove The
                         Purported Harms Are “Not Merely Conjectural” And The
                         Restrictions Alleviate Them “In A Direct And Material Way”

                 Identifying an interest sufficiently important to override the First Amendment

        is only the first step. A court “‘may not simply assume that the [regulation] will

        always advance the asserted state interests sufficiently to justify its abridgement of

        expressive activity.’” Turner, 512 U.S. at 664. “When the Government defends a

        regulation on speech …, it must do more than simply ‘posit the existence of the

        disease sought to be cured.’” Id.

                 Even under TPM scrutiny, then, Appellees must prove: (1) “the recited harms

        are ‘“real, not merely conjectural,”’” and (2) the restriction “‘“alleviate[s] these

        harms in a direct and material way.”’” Ross v. Early, 746 F.3d 546, 556 (4th Cir.

        2014).        The same holds true under higher scrutiny.      Doe, 749 F.3d at 270

        (“unsubstantiated or speculative claims of harm” insufficient to support sealing court

        records); Charlotte Observer, 882 F.2d at 855 (court hearing could not be closed

        where it would be “wholly inefficacious to prevent a perceived harm”).




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                 The Commonwealth quotes the first part of Ross three times. But it never

        acknowledges the second. CRB 52, 53, 57. Smith does, but fails to show how record

        evidence satisfies it. SRB 32.19 Instead, Appellees minimize their burden of proof.

        CRB 52. But where, as here, it is not “obvious” that a speech restriction materially

        addresses a problem, “common sense” and “anecdote” are insufficient; the

        requirement is evidentiary. Reynolds, 779 F.3d at 228 & n.4; Billups, 961 F.3d at

        685 & n.6; AOB 51. This rule has special force where, as here, “the burden on

        speech” is not “small.” Ross, 746 F.3d at 556 (“‘[H]eavier burdens on speech must,

        in general, be justified by more cogent evidentiary predicates.’”). While government

        “need not wait for the harms to occur” and “a panoply of empirical evidence” is

        unnecessary, CRB 52; SRB 32, it must make an “evidentiary showing that the recited

        harms are ‘real, not merely conjectural.’” Ross, 746 F.3d at 556; accord Turner, 512

        U.S. at 664. This Court may not assume a problem exists simply because Appellees

        – or a law review commentator – say it does.

                 Virginia filers already redact social security and financial account numbers.

        § 8.01-420.8. The Commonwealth says “[s]ome filers … ‘fail[] to protect the

        information within documents that are filed with the clerk,’” CRB 14 (citing JA226),

        but offered no evidence of how often this occurs, if at all. Rather, the Work Group

        Report merely references “disclosures that may result from a party’s failure to


        19
             She also ignores the narrowly tailored and less restrictive alternative requirements.

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        protect the information,” JA226, and the record contains no evidence that filers fail

        to properly redact personal identifiers in civil records or otherwise.

              As for the personal information listed in § 17.1-293(B) that filers are not

        required to redact – DOB, maiden and minors’ names, and minors’ ages – even

        setting aside they are publicly available, Appellees do not point to any evidence

        showing how frequently they appear in nonconfidential civil filings. 20         Smith

        appears to acknowledge these identifiers are “uncommon among civil filings,” SRB

        23-24 n.6, and she admitted she could not provide this information. AOB 55 (citing

        JA245-247). As CNS explained, Virginia already provides for sealing where maiden

        and minor names are likely to be found (child custody proceedings, name change

        applications, divorce proceedings). AOB 59.

              Nor is there any evidence to show personal identifiers in civil records have

        resulted in fraud, identity theft or another legally cognizable “misuse” apart from the

        legal speech the Commonwealth seeks to discourage.            Even setting aside the

        problems with the Commonwealth’s reliance on its interpretation of law reviews

        and reports from other governments as “evidence,” most of its secondary sources do




        20
          The list of personal identifiers in § 17.1-293(B) also contains “actual signatures,”
        but, as CNS noted, no other court requires their redaction. AOB 9 (citing JA162).
        Only four states require redaction of maiden names. JA162.

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        not discuss civil court records. 21   Instead, they mainly discuss telemarketers,

        advertisers, credit reporting agencies, financial lenders and others collecting

        personal data available online from various sources as a result of everyday Internet

        use.22 The House Judiciary Hearing testimony the Commonwealth relies on for its

        conclusory assertion that the “PACER system has also suffered from data mining,”

        CRB 11, 54, focuses on information – i.e., “identities of crime victims” and “helpful



        21
            The Commonwealth relies on Humphreys & Partners Architects v. Lessard
        Design, Inc., 790 F.3d 532, 538 (4th Cir. 2015), to say these secondary sources are
        admissible because “the information could be put forward in admissible form at
        trial.” CRB 55. Not so. “[U]nsworn, unauthenticated documents,” such as these,
        “cannot be considered on a motion for summary judgment.” Orsi v. Kirkwood, 999
        F.2d 86, 92 (4th Cir. 1993); cf. Humphreys & Partners, 790 F.3d at 539 (affirming
        consideration of expert reports accompanied by “declarations made under penalty of
        perjury from the experts attesting that they would testify to the matters set forth in
        [the] reports”). Moreover, while a court can judicially notice government reports, it
        may not judicially notice Appellees’ “interpretation of the[ir] content” where, as
        here, CNS contests the meaning the Commonwealth ascribes to them. Ohio Valley
        Envtl. Coal. v. Aracoma Coal Co., 556 F.3d 177, 216 (4th Cir. 2009).
        22
           See CRB 10-13, 54 (citing Office of Oversight and Investigations Majority Staff,
        A Review of the Data Broker Industry: Collection, Use, and Sale of Consumer Data
        for Marketing Purposes 1 (Dec. 18, 2013) (“focus[ing] specifically on the collection
        and sale of consumer information for the purpose of marketing”); Vt. Att’y Gen.
        Report 3-6 (discussing collection and sale of personal data “about individual
        consumers” from companies like Equifax); FTC, What to Know About Identity Theft,
        (discussing identify theft generally); FTC, Big Data: A Tool for Inclusion or
        Exclusion? i & 1 (“address[ing] only the commercial use of big data consisting of
        consumer information” collected “when consumers engage digitally – whether by
        shopping, visiting websites, paying bills, connecting with family and friends through
        social media, using mobile applications, or using connected devices”); Geoffrey
        Xiao, Bad Bots: Regulating the Scraping of Public Personal Information, 34 Harv.
        J. L. & Tech 701, 732 (2021) (noting “concerns with … unfettered access to the
        information hosted on [social media] public websites”)).

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        informants” – collected from criminal, not civil, court records, which are not at issue.

              The secondary sources that do discuss civil court records do not aid Appellees.

        See CRB 11-12, 54. The North Dakota articles emphasize the State “temporarily

        suspended remote online access to court records by anonymous users ... who have

        not been assigned a secure public access account.” And Professor Ardia confirms

        that if “a court does provide online access to some or all of its court records … it

        cannot impose restrictions on who may access those records or how the information

        can be used unless those restrictions comply with the First Amendment.” David S.

        Ardia, Privacy and Court Records: Online Access and the Loss of Practical

        Obscurity, 2017 U. Ill. L. Rev. 1385, 1442 (2017); id. at 1453 (restricting online

        access to protect privacy, “while superficially appealing, is contrary to established

        First Amendment doctrines that mandate a presumption of public access”). 23

              The Knuth Declaration does not fill this evidentiary gap. The Declaration’s

        only non-speculative, admissible evidence is the assertion that online systems that

        are not behind a paywall have been electronically searched.             As the Bodis

        Declaration explained, JA409-413, and the RCFP brief confirms, this by itself does



        23
          The other Ardia article cited by the Commonwealth, CRB 56, is inapposite. It
        analyzed appellate briefs, not trial court records, in North Carolina’s Supreme Court,
        and concluded 75% of the “sensitive information” – including nonconfidential
        personal information regarding employment, location and health – “appeared in
        documents filed in criminal cases.” David S. Ardia & Anne Klinefelter, Privacy and
        Court Records: An Empirical Study, 30 Berkeley Tech. L.J. 1807, 1868 (2016).

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        not demonstrate a problem in need of a speech-restricting solution. “Bots are

        ubiquitous and, contrary to their image in the overheated imagination of some

        observers as nothing but malicious, a significant number serve to enable the

        internet’s basic architecture to function.” RCFP Br. 22.

              3.     The Record Evidence Is Insufficient To Show
                     The Restrictions Are Narrowly Tailored

              Even if Appellees met the threshold requirements of constitutional scrutiny,

        they failed to prove OCRA’s restrictions are narrowly tailored, requiring reversal.

                     a.    Appellees Did Not Satisfy Their Evidentiary Burden
                           To Show Less Restrictive Alternatives Would Not Work

              “If a statute regulates speech based on its content, it must be narrowly tailored

        to promote a compelling Government interest. … If a less restrictive alternative

        would serve the Government’s purpose, the legislature must use that alternative. …

        To do otherwise would be to restrict speech without an adequate justification, a

        course the First Amendment does not permit.” U.S. v. Playboy Entm’t Group, 529

        U.S. 803, 813 (2000). Under Press-Enterprise II, narrow tailoring demands that the

        evidence show “no reasonable alternatives … ‘adequately protect’ [the] government

        interest.” Planet III, 947 F.3d at 596 (quoting 478 U.S. at 14); AOB 50.

              Under TPM review, while the restriction need not “be the least restrictive

        means available, … ‘the government still may not regulate expression in such a

        manner that a substantial portion of the burden on speech does not serve to advance



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        its goals.’” Reynolds, 779 F.3d at 230. The government is required to provide

        evidence “‘demonstrating that it seriously undertook to utilize’ … or ‘attempted to

        use less intrusive tools readily available’” to “achieve the proffered aims,” which

        “this Circuit’s precedent requires.” PETA, 60 F.4th at 831-32 (citing and quoting

        Billups, 961 F.3d at 689-90, and McCullen, 573 U.S. at 496). It is “a nonnegotiable

        requirement in this Circuit” that there be “‘actual evidence’ … that lesser

        restrictions will not do.” Id. at 831 (quoting Reynolds, 779 F.3d at 229).

              CNS cited at least three less restrictive alternatives: (1) expanding the

        categories of personal identifiers filing parties are required to redact; (2) restricting

        remote access in certain case types to parties and attorneys; and (3) common bot

        management practices, particularly effective in the context of paid, secure remote

        access accounts. AOB 59-61.

              Federal courts use these alternatives for their PACER account-based remote

        access system. So do state courts. AOB 7, 29, 58-59; JA142, JA149; JA382-383.

        Like the district court, the Commonwealth discounts this – which, at the summary

        judgment stage, should have raised an inference in CNS’ favor – on the ground that

        “‘CNS presented no evidence of how those systems functioned, and no ‘explanation

        of the effectiveness of protective measures.’” CRB 54 n.6 (quoting JA557). But it

        is Appellees’ burden to show why less restrictive alternatives would not serve their

        interests as effectively as the challenged restrictions, not the other way around.


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        Reynolds, 779 F.3d at 230 (“The County presented no evidence demonstrating why

        these alternatives would not serve its safety interest as effectively as the Amended

        Ordinance.”); McCullen, 573 U.S. at 495 (“To meet the requirement of narrow

        tailoring, the government must demonstrate that alternative measures that burden

        substantially less speech would fail to achieve the government's interests”).

              If these alternatives were ineffective in protecting truly private personal

        identifiers, federal courts would not offer co-extensive remote access to court

        records, as they do, nor would other state courts. JA79; JA382-383; see JA149. Yet

        Appellees do not show they attempted or seriously considered any alternatives. 24

        Their “post-hoc justifications” are thus insufficient, Billups, 961 F.3d at 689, and the

        Non-Attorney Access Restriction fails TPM scrutiny. See AOB 61 & n.23.

              At its heart, the Commonwealth’s main argument is that alternatives would

        not work because “the system CNS proposes is not OCRA” and “[t]he access and

        dissemination regulations are the privacy safeguards the Commonwealth has

        reasonably chosen.” CRB 1-2, 22, 58-60. But government systems restricting



        24
           The Commonwealth claims “Virginia tried several methods to deter data mining”
        of other databases, CRB 52 – two of which did not require an account while the third
        is not behind a paywall, JA374 – but even setting aside the differences between those
        accounts and OCRA’s paid secure remote access, this court “cannot accept” such a
        conclusory contention. McCullen, 573 U.S. at 494 (“identif[ying] not a single
        prosecution brought under those laws within at least the last 17 years … the
        Commonwealth has not shown that it seriously undertook to address the problem
        with less intrusive tools available to it”).

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        speech are not immunized from constitutional challenge because that is the way the

        government set things up and avoiding change is “the path of least resistance.”

        McCullen, 573 U.S. at 486. “To meet the requirement of narrow tailoring, the

        government must demonstrate that alternative measures … would fail to achieve the

        government’s interests, not simply that the chosen route is easier.” Id. at 495.

              The Commonwealth makes sweeping and conclusory claims that alternatives

        to Virginia’s discriminatory access system would require clerks to expend

        “substantial resources to police OCRA user activity, necessitate an “overhaul of

        Virginia’s court-record system,” and require “a host of legislative measures to

        protect the widespread distribution of” personal identifiers.” CRB 59. But as shown

        above, if the unconstitutional portions of § 17.1-293 were invalidated, clerks could

        offer OCRA accounts to the media and public without any legislative action or

        additional clerical redaction. The General Assembly could, if it wished, require

        filers to redact additional categories of information, but it is not a prerequisite. 25

              The Commonwealth contends the “bot-management and other security tactics

        CNS proposes are … resource intensive,” CRB 60, but the Ferguson declaration does

        not address the costs of bot management at all. JA138. And its claim that “redaction



        25
           Although the General Assembly has long had the opportunity to add redaction
        categories, injunctive relief could provide limited time to do this before an injunction
        becomes effective. CNS v. Tingling, 2016 WL 8739010 (S.D.N.Y. Dec. 16, 2016)
        (giving clerk a month to plan for providing timely access via court’s online system).

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        costs would quadruple,” CRB 60, assumes access “to the public at large,” JA138,

        under § 17.1-293(B) (which requires additional redactions), not the exception for

        “secure remote access” in § 17.1-293(E)(7) (which does not). The Riggs Declaration

        does not show “[t]he current system costs local court clerks $1.2 million annually.”

        CRB 60 (citing JA134). That declaration actually says “OES bills out approximately

        $1.2 million to Virginia Circuit Court clerks annually,” JA134, but as CNS

        explained, clerks also collect subscriber fees: Appellee Smith collects $54,800

        annually, despite paying an annual maintenance fee of only $9,500. AOB 8 (citing

        JA84, ¶¶ 38-39, JA209). There is no evidence to show an order invalidating

        Virginia’s unconstitutional system of access would cost clerks or OES a single cent.

        To the contrary, clerks would profit by registering more users for paid accounts.

              Finally, Appellees offered no evidence to show simple policing of OCRA user

        agreements would not effectively address Appellees’ cognizable interests. The

        Knuth declaration’s claim that those banned from Virginia’s non-paywall protected

        systems cannot be prevented from reapplying, CRB 10 (citing JA130-131), is too

        conclusory to be credited, McCullen, 573 U.S. at 494 (“respondents … identify not

        a single prosecution”), and directed at VDBC, which does not require a paid account

        to access. JA374. There is thus nothing to show the Commonwealth “seriously

        undertook,” McCullen, 573 U.S. at 494, to consider whether this or other bot

        management practices would be effective in the context of a paywall-protected,


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        account-based system like OCRA.

                     b.     The Restrictions Prevent Speech On Matters
                            Of Clear Public Concern For No Clear Benefit

              To satisfy TPM’s narrow-tailoring requirement, Appellees must prove not

        only that they tried or seriously considered less restrictive alternatives. They also

        must “prove that the law in dispute does not ‘regulate expression in such a manner

        that a substantial portion of the burden on speech does not serve to advance its

        goals.’” Billups, 961 F.3d at 688 n.9 (quoting Ward v. Rock Against Racism, 491

        U.S 781, 799 (1989)).

              The Commonwealth claims its choice to be the only state in the nation to

        defend an unequal system of remote access to court records is a “reasonable

        balance.” CRB 45. But it bars anyone not a lawyer or government employee from

        OCRA based on the possibility some records might contain some sort of personal

        information and some account holders might “misuse” that information.

              That is hardly “reasonable.” Commenting on “‘matters of public concern’” –

        like civil complaints, which set forth the claims and allegations in new litigation, and

        other developments in civil cases that can only be understood by reading the record

        – “‘lie[s] at the heart of the First Amendment.’ … When the government makes it

        more difficult to engage in these modes of communication, it imposes an especially

        significant First Amendment burden.” McCullen, 573 U.S. at 489-90 (regulations

        making anti-abortion speech “less frequent and far less successful … effectively


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        stifled petitioners’ message”). Virginia’s “categorical ban[]” is “asymmetrical to

        preventing” the harm it claims to prevent, Citizens United, 558 U.S. at 361, and

        “chill[s] an alarming amount of speech without any ‘actual evidence’ in the … record

        that lesser restrictions will not do.” PETA, 60 F.4th at 831.

              4.     TPM’s Alternative Channels Requirement Is Not Satisfied Either

              Like the district court, Smith never addresses the final TPM requirement, that

        the restriction on speech must “leave open ample alternative channels of

        communication.” Reynolds, 779 F.3d at 225-26. The Commonwealth does, but – to

        repeat a common theme – distorts CNS’ position and ignores controlling law. CNS

        did not suggest this requirement was “not relevant.” Compare CRB 50 with AOB

        65. Nor is it true that any alternative channel suffices. To quote again from

        Reynolds: “the alternatives must be adequate,” and, at the least, the record here

        “raises a question of fact,” 779 F.3d at 232 n.5, about whether traveling hundreds of

        miles from court to court to see complaints and other civil records is an “adequate”

        alternative to the secure remote access Virginia already provides, albeit only to

        favored groups. JA143, JA149-151, JA382; see CNS RJN Reqs. 2 & 3. Contrary

        to the Commonwealth’s suggestion, it is neither feasible nor adequate to hire

        “couriers” in 105 circuit courts “to obtain the desired records,” CRB 26, because

        CNS needs to “review the filings to determines which ones are newsworthy,” JA145-

        146, as do other media. RCFP Br. 7, 12-14, 17.



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                                          CONCLUSION

               A nation of two-tier access to the courts, in which attorneys and the

        government can use a secure Internet fast lane for access but the media and public

        cannot, is not just contrary to Circuit and Supreme Court law.          It is wholly

        inconsistent with the open court system on which our nation was founded. If

        Virginia’s system is allowed to stand, there will be nothing to stop other courts from

        following it. The orders below must be reversed.

        Dated: June 15, 2023

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                              CERTIFICATE OF COMPLIANCE

             Pursuant to Federal Rule of Appellate Procedure 32(g), I certify:

              1.    The attached complies with the type-volume limitation of Federal

        Rule of Appellate Procedure 32(a)(7)(B)(ii), as modified by this Court’s order of

        May 3, 2023, granting Appellant Courthouse News Service leave to file a reply

        brief not in excess of 9,750 words. The attached contains 9,743 words (according

        to the Microsoft Word 2016 count function), excluding those parts exempted by

        Rule 32(f) of the Federal Rules of Appellate Procedure.

              2.    The attached complies with the typeface and typestyle requirements of

        Federal Rules of Appellate Procedure 32(a)(5) and 32(a)(6). The attached has been

        prepared in a proportionally spaced typeface using Microsoft Word 2016 in 14-

        point Times New Roman type style.

                                                  /s/ Jonathan E. Ginsberg




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